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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
TAX ANALYSTS,                        )
                                     )
                  Plaintiff,         )
                                     )
            v.                       ) Civil Action No. 1:20-cv-1268-TNM
                                     )
INTERNAL REVENUE SERVICE,            )
                                     )
                  Defendant.         )
____________________________________)

                           STIPULATION OF DISMISSAL

       The parties to this action, Tax Analysts and the Internal Revenue Service

(“IRS”), by and through undersigned counsel, hereby agree to the following terms

and conditions for dismissal of this case, subject to the approval of the Court.

       1. In response to a Freedom of Information Act (“FOIA”) request from Tax

Analysts, IRS released 113 pages of decisions in cases filed by IRS’s Office of

Professional Responsibility (“OPR”) alleging that a practitioner has violated 31

C.F.R. Part 10 (“Circular 230"). These decisions consist of Preliminary Decisions

and Orders issued by Administrative Law Judges, as well as Decisions on Appeal

issued by the Appellate Authority if a Preliminary Decision and Order is appealed

(collectively “Decisions”).1

       2. Those Decisions have been posted and are available on the IRS’s web site


       1
        The Preliminary Decisions and Orders were issued in the following cases:
Nos. 2013-07, 2015-904, 2015-02, 2016-01, 2016-02, 2017-02, 2017-03 and 2018-02,
as well as Decisions on Appeal in Nos. 2013-07, 2015-904 and 2015-02.
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on the page entitled Final Agency Decisions (FAD), available at

https://www.irs.gov/tax-professionals/final-agency-decisions-fads. As of the date of

this stipulation, IRS has posted additional Decisions issued after January 1, 2015.2

      3. The parties agree that within 60 days following the Court’s approval of

this stipulation, IRS will provide to Tax Analysts and will post on the IRS web site

all other Decisions issued between January 1, 2015, and December 31, 2020,3 with

redactions of personal identifiers and/or return information in a manner consistent

with 31 C.F.R. § 10.72(d)(4)(iv), Internal Revenue Code § 6103 and the FOIA.

      4. For all Decisions issued on or after January 1, 2021, the parties agree that

the IRS will post each such Decision to the IRS web site as soon as reasonably

practicable after that Decision becomes final and, in any event, no later than one

year thereafter, with redactions of personal identifiers and/or return information in

a manner consistent with 31 C.F.R. § 10.72(d)(4)(iv), Internal Revenue Code § 6103

and the FOIA. This time period shall exclude any Federal government shutdown or

other office closure due to exigent circumstances that interrupts the operations of

an IRS office involved in reviewing and posting such decisions. This obligation shall

continue as to any additional or future decisions that may have different titles or

are or may be decided by different entities than at present, but that are the



      2
       The additional Decisions are Preliminary Decisions and Orders in Nos.
2018-01, 2019-01, 2019-02, 2019-04, and 2020-02, and Decisions on Appeal in Nos.
2018-01 and 2019-04.

      3
          As of June 28, 2021, the only additional Decisions issued during this six
                                            2
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functional equivalent of the current Decisions issued on complaints filed by OPR

against practitioners alleging violations of Circular 230.

      5. For Decisions issued prior to January 1, 2015, the parties agree that IRS

will redact and otherwise process those Decisions and post them to the IRS web site

within five years of the date of the Court’s approval of this stipulation.

      6. Each party shall bear its own attorneys’ fees and costs in this case,

including the costs of any further proceedings necessary to enforce provisions of this

Order.

      7. The Court shall maintain jurisdiction to enforce provisions of this Order.

      8. This action is dismissed with prejudice on the basis of the terms and

conditions set forth in ¶¶ 1-7 above.

Dated: July 8, 2021

HITCHCOCK LAW FIRM PLLC                        DAVID A. HUBBERT
                                               Acting Assistant Attorney General

/s/ Cornish F. Hitchcock                       /s/ Joseph E. Hunsader
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                                               Attorneys for Defendant




year time period remaining under review are in No. 2014-04.
                                       3
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SO ORDERED:


_________________________________
Trevor N. McFadden
United States District Judge

Dated: _______________, 2021




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